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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


    Mahmoud KHALIL,

                    Petitioner,

    v.

    Donald J. TRUMP, in his official capacity as                          Case No. 25-cv-01935 (JMF)
    President of the United States; William P. JOYCE,
    in his official capacity as Acting Field Office                      NOTICE OF MOTION FOR
    Director of New York, Immigration and Customs                            PRELIMINARY
    Enforcement; Caleb VITELLO, Acting Director,                              INJUNCTION
    U.S. Immigration and Customs Enforcement; Kristi
    NOEM, in her official capacity as Secretary of the
    United States Department of Homeland Security;
    Marco RUBIO, in his official capacity as Secretary of
    State; and Pamela BONDI, in her official capacity
    as Attorney General, U.S. Department of Justice,

                    Respondents.




  PLEASE TAKE NOTICE that, upon the accompanying memorandum of law and supporting

  declaration and exhibits, and previously filed briefing in this action, Petitioner Mahmoud Khalil,

  through counsel, hereby moves this Court for a preliminary injunction: (1) ordering the release of

  Mr. Khalil for the pendency of this litigation; (2) enjoining Respondent Rubio’s determination that

  the INA’s “Foreign Policy Ground” applies to him for the pendency of this litigation; and (3)

  enjoining Respondents from enforcing their Policy of arresting, detaining, and removing

  noncitizens who engage in constitutionally protected expressive activity in the United States in

  support of Palestinian rights or critical of Israel for the pendency of this litigation.

  Dated: March 17, 2025
  New York, New York
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                                             Respectfully submitted,



   AMERICAN CIVIL LIBERTIES                  NEW YORK CIVIL LIBERTIES UNION
   UNION FOUNDATION                          FOUNDATION

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                                             By: /s/Robert Hodgson
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